                 Case 2:23-cv-00932-JHC Document 96 Filed 10/25/23 Page 1 of 5




 1
                                                               THE HONORABLE JOHN H. CHUN
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 6
                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   FEDERAL TRADE COMMISSION,                           No. 2:23-cv-0932-JHC

 9                             Plaintiff,                MOTION OF
                                                         COMPUTER & COMMUNICATIONS
            v.                                           INDUSTRY ASSOCIATION,
10                                                       NETCHOICE, LLC, AND CHAMBER OF
     AMAZON.COM, INC., et al.,                           PROGRESS FOR LEAVE TO FILE
11                                                       BRIEF AMICI CURIAE IN SUPPORT OF
                               Defendants.               DEFENDANTS’ MOTIONS TO DISMISS
12
                                                         NOTE ON MOTION CALENDAR:
                                                         NOVEMBER 10, 2023
13

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                                       I.     INTRODUCTION
15
            COMPUTER & COMMUNICATIONS INDUSTRY ASSOCIATION (“CCIA”),
16
     NETCHOICE, LLC (“NetChoice”), and CHAMBER OF PROGRESS hereby respectfully
17   submit this Motion for Leave to File an Amici Curiae Brief in support of the Motion to Dismiss

18   of Defendant Amazon.com, Inc. (Dkt. 84) and the Motion to Dismiss of Defendants Lindsay,

19   Grandinetti, and Ghani (Dkt. 83). The amici curiae brief is attached as Exhibit A hereto. CCIA

     contacted Plaintiff’s counsel for consent to this motion, which was refused.
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                      II.    IDENTITY AND INTEREST OF AMICI CURIAE
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            Movant CCIA is a non-stock, not-for-profit trade association organized under the laws
22
     of Virginia and operating pursuant to 26 U.S.C. § 501(c)(6). CCIA represents companies
23   offering information and communications technology products and services.                   Defendant
24
      CCIA, ET AL. MOTION FOR LEAVE TO FILE                   BADGLEY MULLINS TURNER PLLC
                                                                   19929 Ballinger Way NE, Suite 200
      BRIEF AMICI CURIAE                                                  Seattle, WA 98155
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                                                                           FAX 206.621.9686
                  Case 2:23-cv-00932-JHC Document 96 Filed 10/25/23 Page 2 of 5




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     Amazon.com, Inc. (“Amazon”) is one of CCIA’s members. The full list of CCIA members is
 2   available at www.ccianet.org/members. For more than 50 years, CCIA has promoted open

 3   markets, open systems, and open networks. CCIA members employ more than 1.6 million

 4   workers, invest more than $100 billion in research and development, and contribute trillions of

     dollars in productivity to the global economy. CCIA has a significant interest in this case,
 5
     because many of its members, including but not limited to Amazon, employ arrangements by
 6
     which consumers obtain ongoing, or subscribed, delivery of goods and services. These
 7
     arrangements inure to the benefit of consumers in several respects, including convenience,
 8   efficiency, and decreased costs of service. In fact, CCIA is participating in the new rulemaking
 9   that the Federal Trade Commission (“FTC”) commenced shortly before initiating this lawsuit:

10   the agency has sought comment on bolstering existing federal rules that govern subscription

11   arrangements.1

               Movant NetChoice is a national trade association of online businesses that share the goal
12
     of promoting free enterprise and free expression on the internet. NetChoice’s members operate
13
     a variety of popular websites, apps, and online services, including Meta, YouTube, and Etsy.
14
     NetChoice’s guiding principles are promoting consumer choice, continuing the successful policy
15   of “light-touch” internet regulation, and fostering online competition to provide consumers with
16   many choices. Defendant Amazon is a member of NetChoice. The full list of NetChoice’s

17   members is available at https://netchoice.org/about/#association-members.

18             Movant Chamber of Progress is a tech-industry coalition devoted to a progressive society

     economy, workforce, and consumer climate. Chamber of Progress backs public policies that
19
     build a fairer, more inclusive country in which the tech industry operates responsibly and fairly,
20
     and in which all people benefit from technological leaps. Chamber of Progress seeks to protect
21
     internet freedom and free speech, to promote innovation and economic growth, and to empower
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     1
         Negative Option Rule, 88 Fed. Reg. 24716 (Apr. 24, 2023)(to be codified at 16 CFR Part 425).
24
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     technology customers and users. A list of Chamber of Progress’ partners is available at
 2   https://progresschamber.org/partners/.

 3          All Movants work to preserve a competitive, accessible, and vibrant internet ecosystem.

 4   As shown above, CCIA, NetChoice, and Chamber of Progress have particular expertise that can

     assist the Court in its review of the Motions to Dismiss.
 5
                        III.    GROUNDS FOR GRANTING THE MOTION
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            The “classic role” of an amicus curiae is to assist a court in a case of public interest by
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     “supplementing the efforts of counsel, and drawing the court’s attention to law that escaped
 8
     consideration.” Miller-Wohl Co. v. Comm’r of Lab. & Indus., State of Mont., 694 F.2d 203, 204
 9   (9th Cir. 1982). “An amicus brief should normally be allowed when … the amicus has unique
10   information or perspective that can help the court beyond the help that the lawyers for the parties

11   are able to provide.” Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1064 (7th

     Cir. 1997).
12
            The Court should permit Movants to file the attached brief amici curiae. CCIA,
13
     NetChoice, and Chamber of Progress have significant expertise in the issues of competition and
14
     consumer protection as applied to digital services and the provision of online shopping services.
15
     This expertise enables Movants to provide exactly the type of “unique information [and]
16   perspective,” 125 F.3d at 1064, that amicus briefs are intended to supply.

17                                       IV.     CONCLUSION

18          For the reasons set forth above, Movants CCIA, NetChoice, and Chamber of Progress

     respectfully request the Court grant them leave to file the amici curiae brief attached hereto as
19
     Exhibit A.
20
            DATED this 25th day of October 2023.
21
            I certify that this motion contains 690 words, in compliance with LCR 7(e)(2).
22
                                                           By: /s/ Duncan C. Turner
23                                                         Duncan Turner, Esq., WSBA No. 20597
24
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            Case 2:23-cv-00932-JHC Document 96 Filed 10/25/23 Page 4 of 5




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 9
                                             *Application for Admission Pro Hac Vice
                                             Pending
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               Case 2:23-cv-00932-JHC Document 96 Filed 10/25/23 Page 5 of 5




 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on this 25th day of October, 2023, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification

 4   of such filing to all counsel of record.

 5                                                 s/ Yonten Dorjee
                                                   Yonten Dorjee, Paralegal
 6                                                 BADGLEY MULLINS TURNER PLLC
                                                   Email:ydorjee@badgleymullins.com
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